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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                             )
SALVATORE MANCUSO GOMEZ,                                     )
                                                             )
       Petitioner,                                           )
                                                             )
v.                                                           )       Civil A. No.: 20-2250 (RJL)
                                                             )
CHAD F. WOLF, ACTING SECRETARY,                              )
U.S. DEPT. OF HOMELAND SECURITY, et al.                      )
                                                             )
       Respondents.                                          )
                                                             )

                                  JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order of March 8, 2023, the parties respectfully submit the

following joint status report regarding Mr. Mancuso’s (Petitioner’s) administrative process.

                                  Background and Joint Status Report

       On August 17, 2020, Petitioner filed his Complaint [ECF No. 1] in this matter and filed

an Amended Complaint [ECF No. 14] on September 1, 2020.

1.     On September 2, 2020, the Court held a telephone motions hearing on Petitioner’s Motion

       for a Temporary Restraining Order [ECF No. 6], which had been filed on August 18, 2020.

       The Court denied Petitioner’s Motion and instructed the parties to file a Joint Status Report

       on September 16, 2020, which the parties did.

2.     On October 15, 2020, the parties filed a joint motion to stay proceedings and submit

       monthly status reports. The Court granted the joint motion and ordered the parties to file

       a joint status report on or before November 12, 2020.

3.     As the Court noted during the September 2, 2020, hearing, and as the parties confirmed in

       their September 16, 2020, Joint Status Report [ECF No. 18], and the October 15, 2020,

       Joint Motion to Stay Proceedings [ECF No. 19], Petitioner is proceeding through an


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     administrative process regarding his removal from the United States and the determination

     of the country to which he will be removed.

4.   Currently, the status of the administrative process regarding his removal remains ongoing

     at the administrative level. As reported at the December 15, 2022, Status Conference,

     Petitioner had his hearing before the Immigration Judge on November 18, 2022. The

     parties submitted written closing arguments by the end of January 2023. But, as of the

     date of this filing, the Immigration Judge has not yet issued a decision.

5.   Thus, the administrative immigration proceedings have not yet concluded.

6.   At this time, because the administrative proceeding will take additional time, the parties

     respectfully request that the Court continue the stay of proceedings in this case to preserve

     the parties’ and the Court’s resources, and because the administrative proceedings may

     resolve the need for further judicial intervention and proceedings.

7.   Accordingly, the parties respectfully propose that they file another Joint Status Report on

     or before August 22, 2023, in accordance with the Court’s January 31, 2022, Minute

     Order. If any significant event occurs that warrants the Court’s prompt attention before

     the next regularly scheduled status report, then the parties can file a “Notice” with the

     Court advising it of the relevant events.

                                       *         *       *




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Dated: May 22, 2023    Respectfully submitted,

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